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                                       UNITED STATES DISTRICT COURT
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                                  SOUTHERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                     )   Case No. 08cr4585 JM
                                                   )
13                        Plaintiff,               )
     v.                                            )   ORDER GRANTING JOINT MOTION TO
14                                                 )   CONTINUE SENTENCING
     MICHELLE MURDOCK,                             )   [Docket No. 55]
15                                                 )
                          Defendants.              )
16                                                 )
17          Upon the Joint Motion of counsel (Docket No. 55) and for good cause shown, the Sentencing
18   Hearing currently scheduled before Judge Miller on March 8, 2010 is hereby continued to 9:00 a.m. on
19   May 14, 2010.
20          IT IS SO ORDERED.
21   DATED: March 4, 2010
22
                                                           Hon. Jeffrey T. Miller
23                                                         United States District Judge
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